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                            FOR PUBLICATION

            UNITED STATES COURT OF APPEALS
                 FOR THE NINTH CIRCUIT

         PROGRESSIVE DEMOCRATS FOR                   No. 22-15323
         SOCIAL JUSTICE, a Democratic
         Club Chartered by the Santa Clara          D.C. No. 4:21-cv-
         County Democratic Party; KRISTA              03875-HSG
         HENNEMAN; CARLIE WARE,

                         Plaintiffs-Appellants,        OPINION

          v.

         ROB BONTA, in his official capacity
         as Attorney General for the State of
         California,

                         Defendant-Appellee.

                 Appeal from the United States District Court
                   for the Northern District of California
               Haywood S. Gilliam, Jr., District Judge, Presiding

                    Argued and Submitted March 29, 2023
                         San Francisco, California

                              Filed July 19, 2023

         Before: Ronald M. Gould, Marsha S. Berzon, and Sandra
                        S. Ikuta, Circuit Judges.
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                            Opinion by Judge Berzon;
                           Concurrence by Judge Ikuta


                                   SUMMARY *


                        Civil Rights/First Amendment

             The panel reversed the district court’s summary
         judgment for the State of California in an action alleging that
         California Government Code § 3205 violates the First
         Amendment and Equal Protection Clause by prohibiting
         local government employees from soliciting political
         contributions from their coworkers while state employees
         are not similarly barred.
             The panel analyzed the State’s decision to restrict the
         expression of certain government employees—but not other
         government employees—under the First Amendment. The
         panel held that Section 3205 does not survive constitutional
         scrutiny under either the “closely drawn” standard from
         McCutcheon v. FEC, 572 U.S. 185 (2014), or the balancing
         test articulated in Pickering v. Board of Education, 391 U.S.
         563 (1968), and United States v. National Treasury
         Employees Union, 513 U.S. 454 (1995).
             The panel held that the speculative benefits that Section
         3205 may provide the Government were not sufficient to
         justify the burden on plaintiffs’ expression. The State
         therefore did not meet its burden of justifying the differential


         *
          This summary constitutes no part of the opinion of the court. It has
         been prepared by court staff for the convenience of the reader.
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         ban under the First Amendment. None of the materials
         before the State at the time of Section 3205’s enactment
         supported the statute’s distinction between local and state
         workers; the State offered no affirmative evidence that intra-
         governmental solicitations have coerced government
         employees into financially supporting political candidates or
         caused government employees to perform their duties in a
         partisan manner; Section 3205 did not account for agency
         size which undercut the State’s argument that the statute
         was properly tailored to address the government’s interest;
         and Section 3205 was underinclusive as a means of limiting
         the actuality and appearance of partisan behavior by public
         employees. Because the panel concluded that Section 3205
         did not survive First Amendment scrutiny, it did not reach
         plaintiffs’ Equal Protection challenge.
             Concurring in the result, Judge Ikuta stated that Section
         3205 violates the First Amendment as a restriction on
         political speech that is not justified by California’s asserted
         governmental interests. But because California did not enact
         the law in its capacity as an employer, but rather in its
         capacity as a sovereign, the panel should have analyzed the
         statute under ordinary First Amendment principles and
         applied strict scrutiny to determine that California had not
         demonstrated either a compelling interest or narrowly
         tailored means.

                                  COUNSEL

         Charles Gerstein (argued), Gerstein Harrow LLP,
         Washington, D.C.; Jason S. Harrow, Equal Citizens, Los
         Angeles, California; for Plaintiffs-Appellants.
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         Keith L. Wurster (argued), Deputy Attorney General; Mark
         Beckington, Supervising Deputy Attorney General; Thomas
         S. Patterson, Senior Assistant Attorney General; Rob Bonta,
         Attorney General of California; Office of the California
         Attorney General; Sacramento, California; for Defendant-
         Appellee



                                 OPINION

         BERZON, Circuit Judge:

             Under California law, local government employees may
         not solicit political contributions from their coworkers, but
         state government employees may. A political organization
         and two of the organization’s officers challenged the statute
         responsible for this distinction, California Government Code
         § 3205, as violative of the First and Fourteenth
         Amendments. Because the statute’s discrimination against
         local employees is not justified under any arguably
         applicable standard, we hold that Section 3205 is
         unconstitutional and reverse the district court.
                                      I.
                                      A.
             Section 3205 generally prohibits local government
         employees in California from soliciting political
         contributions from their coworkers. It provides in relevant
         part:

                (a) An officer or employee of a local agency
                shall not, directly or indirectly, solicit a
                political contribution from an officer or
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                employee of that agency, or from a person on
                an employment list of that agency, with
                knowledge that the person from whom the
                contribution is solicited is an officer or
                employee of that agency. . . .
                (c) This section shall not prohibit an officer
                or employee of a local agency . . . from
                requesting political contributions from
                officers or employees of that agency if the
                solicitation is part of a solicitation made to a
                significant segment of the public which may
                include officers or employees of that local
                agency.
                (d) Violation of this section is punishable as
                a misdemeanor. The district attorney shall
                have all authority to prosecute under this
                section.

             State government employees are not similarly barred
         from soliciting contributions from their colleagues. There
         are limitations on their political fundraising: they may not
         solicit during work hours, and they may not use state
         resources, their titles, or their positions when fundraising.
         See Cal. Gov’t Code § 19990(a)–(b). But there is no state
         law or regulation that categorically bars all forms of political
         solicitations among state workers.
             This distinction between local and state employees’
         solicitations rights did not always exist. In 1913, the
         California State Legislature enacted legislation banning state
         employees from soliciting contributions from state civil
         service employees. See 1913 Cal. Stat. 1035, 1046–47. Five
         decades later, the Legislature enacted a law prohibiting
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         political solicitation among local government employees.
         See 1963 Cal Stat. 4078, 4079. So between 1963 and 1976,
         both state and local workers were forbidden from soliciting
         political contributions from their coworkers. Compare 1913
         Cal. Stat. 1035, 1046–47, and 1963 Cal Stat. 4078, 4079,
         with 1976 Cal. Stat. 6352, 6353.
             This era of parity did not last. Shortly after the
         Legislature enacted its solicitation ban for local employees,
         the California Supreme Court decided several cases limiting
         the government’s ability to restrict the political activity of
         public workers. See, e.g., Fort v. Civ. Serv. Comm’n., 61 Cal.
         2d 331 (1964); Bagley v. Wash. Twp. Hosp. Dist., 65 Cal. 2d
         499 (1966). Then, in 1976, State Assemblyman John
         Vasconcellos introduced Assembly Bill 4351, a bill to
         loosen certain restrictions on the political speech of
         government employees. See A.B. 4351, 1975–76 Leg., Reg.
         Sess. (Cal. 1976) (as introduced).
             As initially drafted, AB 4351 repealed the State’s bans
         on intra-governmental solicitations for state and local
         employees, treating both sets of workers identically. Id. But,
         in the end, AB 4351 was amended to repeal the intra-
         governmental solicitation ban for state employees only and
         to reenact the prohibition for local employees, in a
         renumbered Section 3205. See A.B. 4351, 1975–76 Leg.,
         Reg. Sess. (Cal. 1976) (as amended in Senate, Aug. 6, 1976).
         Marty Morgenstern, Governor Jerry Brown’s Director of the
         Office of Employee Relations, could “find no reason for this
         unique treatment of State employees, vis-a-vis local agency
         employees” and “recommend[ed] against signing this bill, at
         least until we could determine the rationale for this
         distinction.” Memorandum from Marty Morgenstern,
         Director, Office of Emp. Rels., to Jerry Brown, Governor,
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         State of Cal. (Sept. 22, 1976). Governor Brown nonetheless
         signed the bill into law. See 1976 Cal. Stat. 6352, 6353. 1
                                         B.
             Plaintiffs Progressive Democrats for Social Justice, a
         political organization, and Krista Henneman and Carlie
         Ware, two officers of that organization (collectively
         “PDSJ”), sued to challenge the constitutionality of Section
         3205. Henneman and Ware were deputy public defenders for
         Santa Clara County who supported Sajid Khan, a fellow
         county deputy public defender, in his campaign to become
         district attorney. They wanted to solicit contributions for
         Khan from other county employees, particularly other public
         defenders, outside of work hours and without using county
         resources or titles. 2 But Henneman and Ware determined, in
         accordance with a memorandum from Santa Clara County
         counsel, that individually soliciting donations from their
         coworkers would violate Section 3205. They therefore did
         not engage in the solicitations and instead filed this lawsuit
         challenging Section 3205 as unconstitutional. The complaint
         alleged that California’s law violated the First Amendment
         and Equal Protection Clause by banning political
         solicitations among local employees but not among state
         employees.
             After filing suit, PDSJ moved for a temporary restraining
         order enjoining the enforcement of Section 3205, which the
         district court denied. The parties then cross-moved for

         1
           In 1995, the Legislature designated violations of Section 3205 as
         misdemeanors and authorized district attorneys to prosecute such
         violations. See 1995 Cal. Stat. 5109.
         2
           At the times of the complaint and motions for summary judgment,
         neither Henneman nor Ware were employed as supervisors by Santa
         Clara County.
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         summary judgment on undisputed facts, including
         declarations from Henneman and Ware stating their desire
         to solicit their colleagues outside work hours and without
         using government resources, and the district court granted
         the State’s motion for summary judgment.
             On PDSJ’s First Amendment claim, the court
         determined that the balancing test set forth in Pickering v.
         Board of Education, 391 U.S. 563 (1968), provided the
         relevant framework. Weighing the “local employees’ First
         Amendment rights against the government’s justification for
         treating them differently from members of the public,” the
         court found “adequate justification” for Section 3205’s
         restriction of local employees’ solicitation rights. With
         respect to PDSJ’s Equal Protection claim, the court declined
         to resolve the parties’ dispute over the proper level of
         scrutiny. Rather, Section 3205 withstood PDSJ’s challenge
         even under a “heightened standard,” the court decided,
         because state and local employees were not “similarly
         situated” and, even if they were, the statute was closely
         drawn to support the important state interest of reducing the
         existence and appearance of corruption and workplace
         coercion. This appeal followed. 3


         3
           Although the campaign for which PDSJ sought to solicit contributions
         has ended, no party has argued that this appeal is moot. The Supreme
         Court has often concluded that litigation challenging election regulations
         is not moot even when the election at issue is complete, because such
         cases can “fit comfortably within the established exception to mootness
         for disputes capable of repetition, yet evading review.” FEC v. Wis. Right
         to Life, Inc., 551 U.S. 449, 462 (2007); see also Davis v. FEC, 554 U.S.
         724, 735–36 (2008). Here, Henneman and Ware have declared that they
         would solicit campaign contributions from other county employees for
         future elections were they not prohibited from doing so by California
         law. So the case is not moot.
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                                      II.
             “Discrimination in the First Amendment context has
         sometimes been characterized as a violation of the First
         Amendment itself and has sometimes been characterized as
         a violation of the Equal Protection Clause.” SEIU v. Fair
         Pol. Pracs. Comm’n, 955 F.2d 1312, 1319 n.11 (9th Cir.
         1992) (citations omitted). Citizens United v. FEC, however,
         explained that “the First Amendment . . . [p]rohibit[s] . . .
         restrictions distinguishing among different speakers,
         allowing speech by some but not others.” 558 U.S. 310, 340
         (2010). So, as the Second and Third Circuits did in similar
         cases, we analyze the State’s decision to restrict the
         expression of certain government employees—but not other
         government employees—under the First Amendment. See
         Lodge No. 5 of Fraternal Ord. of Police ex rel. McNesby v.
         City of Philadelphia, 763 F.3d 358, 381 (3d Cir. 2014)
         (“Because the City does not enforce the Charter ban against
         the balance of its employees, it must explain why the ban has
         special significance against the police.”); Latino Officers
         Ass’n v. City of New York, 196 F.3d 458, 467 (2d Cir. 1999)
         (“Having allowed [at least 25] organizations to use the
         NYPD uniform in [marches] over many decades, the NYPD
         cannot now deny plaintiffs the same privilege without
         demonstrating that their use of the uniform is both
         distinguishable from that of the various authorized
         organizations and ‘so threatening to the efficiency of the
         [NYPD] as to render the [restriction] a reasonable response
         to the threat.’” (citation omitted)).
           The parties disagree on the appropriate level of First
         Amendment scrutiny for Section 3205.
           PDSJ argues that the “closely drawn” standard from
         McCutcheon v. FEC, 572 U.S. 185 (2014), applies to this
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         case. Under that standard, a government restriction on First
         Amendment rights—in McCutcheon, a campaign
         contribution limitation—can be sustained if “the State
         demonstrates a sufficiently important interest and employs
         means closely drawn to avoid unnecessary abridgement of
         associational freedoms.” Id. at 197 (plurality opinion)
         (quoting Buckley v. Valeo, 424 U.S. 1, 25 (1976) (per
         curiam)). Although McCutcheon did not concern
         government employees and PDSJ does not cite cases in
         which distinctions between government employees were at
         issue, PDSJ contends that the McCutcheon standard is
         appropriate because Section 3205 discriminates among
         speakers in their exercise of First Amendment rights. 4
             The State, in contrast, maintains that the test articulated
         in Pickering governs, as the district court concluded.
         Applicable to limitations on government employee speech,
         Pickering asks “whether the relevant government entity had
         an adequate justification for treating the employee
         differently from any other member of the general public.”
         Garcetti v. Ceballos, 547 U.S. 410, 418 (2006). As the
         Supreme Court explained in United States v. National
         Treasury Employees Union (NTEU), 513 U.S. 454 (1995),
         “the Government’s burden is greater with respect to [a]
         statutory restriction on expression than with respect to an
         isolated disciplinary action,” id. at 468: “[t]he Government
         must show that the interests of both potential audiences and
         a vast group of present and future employees in a broad range
         of present and future expression are outweighed by that


         4
           PDSJ has not argued that Section 3205 should be analyzed under strict
         scrutiny. To the contrary, at oral argument, PDSJ’s counsel reiterated
         that McCutcheon’s close scrutiny standard should apply and explained
         that close scrutiny and strict scrutiny were not the same standard.
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         expression’s ‘necessary impact on the actual operation’ of
         the Government,” id. (quoting Pickering, 391 U.S. at 571),
         and “must demonstrate that the recited harms are real, not
         merely conjectural, and that the regulation will in fact
         alleviate these harms in a direct and material way,” id. at 475
         (quoting Turner Broad. Sys., Inc. v. FCC, 512 U.S. 622, 664
         (1994) (plurality opinion)).
              We need not resolve the parties’ disagreement
         concerning the type of scrutiny applicable here, as Section
         3205 does not survive constitutional scrutiny under either
         standard (or the more stringent strict scrutiny standard
         advocated for by the concurrence). In so doing, we follow
         the Supreme Court’s lead. McCutcheon declined to revisit
         the Court’s different standards for reviewing limits on
         political contributions and expenditures—rejecting Justice
         Thomas’s concurrence calling for the application of strict
         scrutiny to contribution restrictions—because both strict
         scrutiny and close scrutiny required the Court to “assess the
         fit between the stated governmental objective and the means
         selected to achieve that objective” and because the
         contribution limit at issue failed under either standard. 572
         U.S. at 199. Here, both the McCutcheon and
         Pickering/NTEU tests require us to: (1) evaluate the State’s
         asserted interests in enacting Section 3205 and (2) decide
         whether the statute is appropriately tailored to achieve those
         interests. See id. at 197; NTEU, 513 U.S. at 470, 472–73,
         477; see also Lodge No. 5, 763 F.3d at 375. And because the
         parties agree that Pickering/NTEU sets forth a more
         deferential standard than McCutcheon, Section 3205
         necessarily fails under McCutcheon if it fails under
         Pickering/NTEU. See Wagner v. FEC, 793 F.3d 1, 7 (D.C.
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         Cir. 2015). 5 For the reasons stated below, we hold that “[t]he
         speculative benefits [Section 3205] may provide the
         Government are not sufficient to justify this crudely crafted
         burden on [PDSJ’s] freedom to engage in expressive
         activities.” NTEU, 513 U.S. at 477. 6


         5
           Neither the Supreme Court nor the Ninth Circuit has determined the
         appropriate level of scrutiny for a solicitation ban targeted at government
         employees. In Williams-Yulee v. Florida Bar, 575 U.S. 433 (2015), a
         plurality of the Supreme Court applied strict scrutiny to a state regulation
         banning all judicial candidates, whether currently employed as judges or
         not, from soliciting campaign contributions from anyone, not only from
         government employees. See id. at 437, 444. The section of the primary
         opinion in Williams-Yulee discussing the applicable level of scrutiny was
         joined by four of the Justices. See id. at 442–44; id. at 457–58 (Ginsburg,
         J., concurring in part and concurring in the judgment). Wolfson v.
         Concannon, 811 F.3d 1176, 1180 (9th Cir. 2016) (en banc), relied upon
         by the concurrence, see Concurrence at 31, adopted a strict scrutiny
         standard to review a state’s solicitation restriction in “the context of
         judicial elections,” see Concurrence at 32 n.5. Again, the solicitation ban
         in Wolfson applied to all judicial candidates, whether currently employed
         as judges or not, and solicitations from anyone, not just from government
         employees. See 811 F.3d at 1187 (Berzon, J., concurring).
         6
           The concurrence contends that Section 3205 should be analyzed as a
         general governmental regulation on citizens, as opposed to government
         employees, because “California concedes that the state government has
         no authority over local agency employees.” See Concurrence at 29–30.
         We are skeptical of this proposition. Local governments are creations of
         the state government under the California Constitution, see Cal. Const.
         art. XI, and California has plenary authority to regulate local
         governments on matters of statewide concern, see, e.g., Cal. Fed. Savs.
         & Loan Ass’n v. City of Los Angeles, 54 Cal. 3d 1, 15–18 (1991). And
         the Legislature has explicitly stated, in the same chapter that contains
         Section 3205, that the “political activities of public employees are of
         significant statewide concern,” overriding “all provisions on this subject
         in . . . any city, county, or city and county charter.” Cal. Gov’t Code
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                                             III.
             Section 3205 precludes over a million local government
         employees from soliciting political contributions from co-
         employees.      “Soliciting    financial   support      is . . .
         characteristically intertwined with informative and perhaps
         persuasive speech seeking support for particular causes.”
         Village of Schaumburg v. Citizens for a Better Env’t, 444
         U.S. 620, 632 (1980). Although local government
         employees may engage in other forms of political speech
         under Section 3205—such as solicitations directed at the
         public at large—Henneman and Ware declare, without
         contradiction, that individualized solicitations are “much
         more effective” than general solicitations. By banning
         targeted political solicitations among local government
         workers, California restricts a core form of political speech
         for “a vast group of present and future employees.” NTEU,
         513 U.S. at 468.
             The State asserts that two primary interests justify the
         burdens imposed by Section 3205: (1) assuring that
         government employees are free from workplace pressure to
         support certain political causes and candidates and (2)
         assuring that government employees perform their duties on
         behalf of the public rather than for partisan gain (i.e.,

         § 3201. In other words, local employees operate, at least to some degree,
         under the State’s authority. Although California argues that the State as
         a practical matter exercises stronger oversight over state employees than
         local governments do over local employees, nowhere does it assert that
         it has no authority to regulate the employment policies of local
         government agencies. Section 3205, which California defends as a valid
         exercise of state power, is a regulation on the political activities of local
         government employees, and the parties agree that California could have
         validly enacted an intragovernmental solicitation ban for both state and
         local employees.
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         avoiding the practice of “political justice,” U.S. Civ. Serv.
         Comm’n v. Nat’l Ass’n of Letter Carriers, 413 U.S. 548, 565
         (1973)). The Supreme Court has recognized the state’s
         legitimate interests in limiting workplace political coercion
         and the practice of political justice. See id. at 564–67. And
         PDSJ recognizes that these interests would likely support a
         ban against political solicitations among all government
         employees.
             The critical question, then, is whether Section 3205 is
         properly tailored to support the State’s interests, given its
         exclusive application to local government employees. In
         other words, California must demonstrate that Section 3205,
         despite its differential treatment of state and local
         employees, is a reasonable response to the State’s posited
         and actual harms. See NTEU, 513 U.S. at 475–76. After a
         review of the record before us, we cannot say that the State
         has met its burden of justifying the differential ban under the
         First Amendment.
             1. None of the materials before the State at the time of
         Section 3205’s enactment support the statute’s distinction
         between local and state workers. In defense of the statute,
         the State points to several letters sent to the Legislature and
         Governor about Section 3205 and a committee report issued
         over a decade before Section 3205’s enactment. But none of
         those documents explain why state and local workers should
         be treated differently with respect to intra-governmental
         solicitations.
             For instance, a letter from the Sacramento City Council
         to the Legislature opposing AB 4351 concerned an entirely
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         different provision of the bill. 7 See Letter from Michael S.
         Sands, Chairman of Council Comm. on Law & Legis.,
         Sacramento City Council, to Ralph C. Dills, Chairman of S.
         Gov’t Org. Comm., Cal. State Legis. (July 15, 1976). And
         the Assembly’s committee report, in significant tension with
         and notably predating Section 3205, discussed the need to
         “improve the political freedom of local government
         employees,” deeming the State’s limits on local workers’
         speech “a definite problem.” See Assemb. of the State of Cal.
         Elections and Reapportionment Interim Comm., An
         Omnibus Report, 1963 Assemb., at 40 (1963) (emphasis
         added).
             The only clear pre-enactment acknowledgment of
         Section 3205’s disparate treatment of local employees was
         the warning from Governor Brown’s chief aide on
         employment issues. Because Morgenstern could “find no
         reason for [Section 3205’s] unique treatment of State
         employees, vis-a-vis local agency employees,” he
         recommended that the Governor not sign AB 4351, “at least
         until we could determine the rationale for this distinction.”
         Memorandum from Marty Morgenstern, Director, Office of
         Emp. Rels., to Jerry Brown, Governor, State of Cal. (Sept.
         22, 1976).
             2. When considering First Amendment challenges, the
         Supreme Court and this Court review evidence beyond the
         information available to the legislature and executive at the

         7
            Sacramento withdrew its opposition to the bill “[b]ecause of
         amendments worked out with the author” on the day before AB 4351
         was amended to address this different provision. See Letter from Michael
         S. Sands, Chairman of Council Comm. on Law & Legis., Sacramento
         City Council, to Ralph C. Dills, Chairman of S. Gov’t Org. Comm., Cal.
         State Legis. (Aug. 10, 1976); A.B. 4351, 1975–76 Leg., Reg. Sess. (Cal.
         1976) (as amended in Senate, Aug. 11, 1976).
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         time of the statute’s enactment. See Turner Broad. Sys., Inc.
         v. FCC, 520 U.S. 180, 196 (1997); Minority Television
         Project, Inc. v. FCC, 736 F.3d 1192, 1198–99 (9th Cir.
         2013) (en banc). The operation of California’s statutory
         scheme over the decades demonstrates the primary problem
         with Section 3205: the law curtails far more speech than
         necessary to achieve the State’s aims.
             Unlike local employees, state government employees
         are allowed to solicit political contributions from their
         coworkers, but only as long as the solicitations do not occur
         during work hours or use state titles or resources. Despite
         nearly thirty years under this regime, California does not
         identify any discipline initiated in response to such
         solicitations. Put another way, the State has offered no
         affirmative evidence that intra-governmental solicitations—
         constrained by the same conditions under which PDSJ seeks
         to solicit contributions according to their declarations—have
         coerced government employees into financially supporting
         political candidates or caused government employees to
         perform their duties in a partisan manner.
             In NTEU, the Supreme Court cited an analogous lack of
         evidence of known misconduct in the “vast rank and file of
         federal employees” to strike down the federal government’s
         blanket honoraria ban for public workers as violative of the
         First Amendment. 513 U.S. at 472. “A ‘reasonable’ burden
         on expression,” the Justices explained, “requires a
         justification far stronger than mere speculation about serious
         harms.” Id. at 475. The evidentiary gap here raises similarly
         serious questions about the need for a flat solicitation
         prohibition among any set of governmental employees in
         California.
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              3. California’s defense of Section 3205 is further
         undermined by the statute’s poor fit for the State’s asserted
         interest in limiting workplace coercion. State and local
         agencies vary considerably by size. For example, Santa
         Clara County, a local government, employs approximately
         22,000 people, while the San Joaquin River Conservancy, a
         state agency, employs three. See About the County, County
         of                         Santa                       Clara,
         https://employeeservices.sccgov.org/sites/g/files/exjcpb531
         /files/about-our-county.pdf [https://perma.cc/ZJ93-CJSS];
         California State Controller, San Joaquin River Conservancy,
         Government Compensation in California (July 26, 2022),
         https://publicpay.ca.gov/Reports/State/StateEntity.aspx?ent
         ityid=3831&year=2021 [https://perma.cc/38PM-WQ9T].
         Agency size logically affects whether a colleague’s
         solicitation might be understood as coercive: solicitations
         among colleagues in a small agency, who must collaborate
         on a regular basis, are likely to be perceived differently by
         the targets of the solicitation from solicitations among
         workers within a thousand-person agency, who may be
         colleagues in name only and may never meaningfully
         interact. Section 3205, however, does not account for agency
         size at all; it instead distinguishes only between state and
         local governments in its coverage. To wit, under Section
         3205:

                A law clerk in a state judge’s chambers may
                solicit political contributions for a judicial
                candidate from one of her two or three fellow
                clerks at a Friday happy hour and sit next to
                the other clerk the following week;
                meanwhile, a Los Angeles County janitor
                may not solicit contributions for a
                Presidential candidate from a Los Angeles
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                 County prosecutor at a barbecue that they
                 both happen to attend with family, even
                 though both are among approximately
                 100,000 county employees, and even though
                 they may go to work more than 85 miles (and
                 an hours-long drive in LA traffic) from each
                 other. 8

             The First Amendment does not tolerate such a “crudely
         crafted burden” on local employees’ expressive rights.
         NTEU, 513 U.S. at 477. If the State seeks to protect
         government employees from undue political pressure with a
         solicitation ban, it cannot enact a statute that illogically
         distinguishes between types of government employees but
         fails to account for a crucial factor in determining whether
         the prohibited solicitations will actually result in undue
         pressure. Section 3205’s indiscriminate application to local
         agencies of all sizes—and disregard for the potential for
         coercion in state agencies regardless of size—undercuts the
         State’s argument that the statute is properly tailored to
         address the government’s interests.
             4. Section 3205 fares no better with respect to
         California’s other stated goal: limiting the actuality and
         appearance that government employees are working on
         behalf of political parties. In Letter Carriers, the case the
         State cites in support of the importance of this interest, the
         Supreme Court explained that avoiding the practice and
         appearance of “political justice” was one of the “obviously
         important interests” served by the Hatch Act. 413 U.S. at
         564–65; see Pub. L. No. 89-554, 80 Stat. 378, 525 (1966).

         8
          This hypothetical was posed by PDSJ in its briefs before the district
         court and the Ninth Circuit.
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         But the Court in that case considered a markedly different
         provision than the one before us today.
             Letter Carriers upheld the Hatch Act’s complete
         prohibition on partisan activities by federal employees. 413
         U.S. at 550–51. That wide-ranging ban on political activities
         matched the federal government’s interest in “the impartial
         execution of the laws” “without bias or favoritism for or
         against any political party.” Id. at 565. The same cannot be
         said of Section 3205. California’s statute is radically
         underinclusive as a means to limit the actuality and
         appearance of partisan behavior by public employees. See
         Fla. Star v. B.J.F., 491 U.S. 524, 540–41 (1989). Even
         setting aside the statute’s omission of state employees, local
         workers may still engage in a wide range of political
         activities under the law, including donating to partisan
         groups, leading political organizations, soliciting the public
         on behalf of their favored candidates and causes, and running
         for office themselves. Given the statute’s narrow focus, the
         State cannot plausibly contend that Section 3205
         meaningfully limits the actuality and public appearance of
         local employees behaving as partisan actors, when the law
         bans only the decidedly internal act of solicitations among
         coworkers.
             5. The Supreme Court’s caselaw on the problems
         underinclusive statutes present under the First Amendment
         underscores Section 3205’s infirmities. Williams-Yulee v.
         Florida Bar, 575 U.S. 433 (2015), reviewed a Florida canon
         that banned judges and judicial candidates from personally
         soliciting campaign contributions. “Underinclusivity creates
         a First Amendment concern,” the Court explained, “when
         the State regulates one aspect of a problem while declining
         to regulate a different aspect of the problem that affects its
         stated interest in a comparable way.” Id. at 451 (emphasis
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         omitted). “[A] law’s underinclusivity raises a red flag.” Id.
         at 449. Florida’s regulation survived First Amendment
         scrutiny, the Court held, in part, because it was not
         underinclusive: “[t]he solicitation ban aim[ed] squarely at
         the conduct most likely to undermine public confidence in
         the integrity of the judiciary: personal requests for money by
         judges and judicial candidates.” Id. at 449.
             Section 3205 falls on the wrong side of Williams-Yulee’s
         underinclusivity line. California insists that solicitations
         among coworkers undermine a government’s ability to
         function. But instead of prohibiting that speech entirely, as
         Florida did with judicial solicitations, the State bans
         solicitations among local employees and not state
         employees. Moreover, as we have explained, Section 3205
         cannot be reasonably described as aiming squarely at the
         speech most likely to undermine the State’s interests,
         because it neither accounts for agency size in addressing
         political coercion nor bans much of the political activity that
         could raise the appearance and practice of political justice.
         See supra at 17–19. In sum, Section 3205 implicates the
         underinclusiveness problem that Florida’s canon in
         Williams-Yulee did not and also lacks the tailoring Florida’s
         canon had.
                               *       *       *
             These combined anomalies fatally undercut California’s
         justifications for Section 3205. The State’s proffered goals
         are undoubtedly important. But “the lack of fit between the
         [State’s] purported interests and [Section 3205] renders the
         restriction an unacceptable response to the posited harms.”
         Lodge No. 5, 763 F.3d at 379.
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                                     IV.
             The State offers two primary counterarguments. First,
         California contends that state and local employees can be
         treated differently because state employees are subject to
         “stronger and more uniform oversight.” Second, California
         insists that Supreme Court precedent forecloses PDSJ’s
         challenge to Section 3205. Neither argument flies.
                                      A.
             California argues that state employees are differently
         situated from local employees because the state civil service
         system and the California Department of Human Resources
         (“CalHR”) govern state but not local government
         employees. The State does not explain how the supposed
         benefits flowing from these structures justify Section 3205’s
         burdens on local employees’ First Amendment rights.
             1. “Uniformity” cannot be the answer. California
         contends that CalHR imposes uniformity on state employees
         by approving employment regulations for state agencies and
         serving as a central entity to protect state employees and
         their rights; this uniformity, according to California, would
         not exist for local employees absent Section 3205. But the
         State never explains why uniformity in solicitation
         regulation among local government entities is a worthwhile
         state interest, especially when Section 3205 itself creates
         disuniformity by treating state and local employees
         differently. Local governments have different workplace
         policies on a wide range of matters and for any number of
         valid reasons. See, e.g., Cal. Gov’t Code § 45000 (enabling
         cities to adopt their own personnel systems); Cal. Gov’t
         Code § 31102 (enabling counties to adopt their own
         personnel systems). In fact, state law already explicitly
         allows local governments, in a provision also enacted by AB
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         4351, to devise their own policies on permissible political
         activities during work hours and at the workplace. See Cal.
         Gov’t Code § 3207.
             Further, even if we were to grant the importance of
         California’s interest in uniformity, there is a far better
         alternative to Section 3205 that would at least equally well
         achieve the State’s aims. See Lodge No. 5, 763 F.3d at 383–
         84. As PDSJ seeks, the State could allow all public
         employees in California to solicit contributions from their
         coworkers under the same restrictions currently imposed on
         state employees. In doing so, the State would foster more
         uniformity in the rules applicable to government employees,
         by harmonizing solicitation regulations between state and
         local government workers as well as for all local government
         employees. At the same time, such legislation would restrict
         less speech by enabling local workers to engage in non-
         coercive solicitations, while simultaneously banning
         solicitations among government employees under
         circumstances that are most likely to be coercive.
             2. The State’s representation that state employees are
         subject to stronger oversight than local employees is no more
         compelling. California contends that CalHR and the state
         civil service system offer better protections from retaliation
         for state employees than local employees receive from their
         local governments. Yet, the State offers no evidence to
         justify its vague assertions.
             It is impossible to judge the relevance of CalHR and the
         state merit system when the State does not detail any relevant
         “protections” supposedly offered by them. The mere
         existence of CalHR says nothing about the quality of
         oversight over state employment conditions as compared to
         local employment conditions. It is true but irrelevant that a
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         state employment agency exists for nearly 400,000 state
         employees while certain much smaller local governments
         only have a single employee to handle HR questions. And
         the record contains no information about the “protections”
         offered by the state civil service system as compared to the
         “protections” offered by local civil service systems—or even
         whether state employees are more likely than local
         employees to be governed by a merit system. 9
             Even if we were to somehow credit California’s
         amorphous claims about the protections offered to state
         employees, the State does not explain why these protections
         affect whether local governments can enforce a substantive
         rule permitting local employees to solicit their coworkers
         under certain restrictions. California currently requires local
         governments, apparently without incident, to supervise a
         regime in which solicitations among local government
         colleagues are completely banned. If there were a structural
         reason local governments were incapable of enforcing more
         discrete bans, one would think that reason would hamper
         enforcement under the current, more stringent regime as
         well. The State’s speculation about the capabilities of local
         government agencies combined with a record devoid of

         9
           California’s passing references to the protections offered by state
         unions are unpersuasive for similar reasons. Local as well as state
         governmental employees are entitled under California law to join unions
         and engage in collective bargaining. See, e.g., Meyers-Milias-Brown
         Act, Cal. Gov’t Code §§ 3500–3511; Educational Employment
         Relations Act, Cal. Gov’t Code §§ 3540–3549.3; Ralph C. Dills Act, Cal.
         Gov’t Code §§ 3512–3524; Higher Education Employer-Employee
         Relations Act, Cal. Gov’t Code §§ 3560–3599. No record information
         suggests that state employees are covered by collective bargaining
         agreements at significantly higher rates than local employees or have
         stronger workplace protections as compared to local employees because
         of their unions.
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         specific evidence about the benefits relevant to inter-
         employee campaigning offered by CalHR and the state civil
         service system cannot sustain a flat solicitation ban among
         all local government employees.
                                       B.
             None of the cases cited by the State justify the regulatory
         regime created by Section 3205.
             United Public Workers of America v. Mitchell, 330 U.S.
         75 (1947), addresses a different question from the one
         presented in this case. In Mitchell, the petitioners argued that
         the Hatch Act covered more employees than necessary to
         achieve the federal government’s anti-corruption goals. See
         id. at 100–02. Here, PDSJ contends that Section 3205
         arbitrarily singles out a specific group of public employees
         for regulation instead of covering all state and local
         employees. The Supreme Court’s rejection of the
         petitioners’ claim in Mitchell, which challenged the Hatch
         Act for being overly broad, does not inform our analysis of
         PDSJ’s claim in this dispute, which challenges California’s
         statute for being overly narrow. See Williams-Yulee, 575
         U.S. at 451.
             Nor does a footnote from Broadrick v. Oklahoma, 413
         U.S. 601 (1973), undermine PDSJ’s First Amendment
         challenge. In upholding Oklahoma’s decision to ban civil
         servants—but not other state employees—from engaging in
         a range of political activities, the Supreme Court in
         Broadrick explained that “the legislature must have some
         leeway in determining which of its employment positions
         require restrictions on partisan political activities and which
         may be left unregulated.” Id. at 607 n.5. This statement was
         made in the context of Oklahoma’s scheme for designating
         some state employees but not others as covered by a merit-
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         based, nonpartisan civil service system. See id. at 602–07 &
         n.5. Such systems are designed to combat the actuality and
         appearance of political patronage in the more ministerial
         governmental jobs, while permitting other governmental
         employees to be appointed by, and beholden to, elected
         officials, reflecting the need for political control at some
         levels of governmental decision-making. See id. at 606;
         Elrod v. Burns, 427 U.S. 347, 364–66 (1976) (plurality
         opinion). Prohibiting civil service employees in particular
         from engaging in political activity directly fosters those
         goals.
            Section 3205 operates in a decidedly different manner.
         Rather than banning all civil-service-covered employees
         from engaging in political activity, California’s law
         prohibits all local employees, but not any state employees,
         from individually soliciting political contributions from their
         coworkers. In other words, Section 3205 matches neither the
         means nor ends of Oklahoma’s statute: it does not track
         Broadrick’s distinction between civil-service-covered
         governmental employees and other governmental employees
         and does not use a comparably broad set of restrictions to
         achieve the State’s interests. Broadrick’s footnote cannot
         save Section 3205 from constitutional scrutiny.
            The remaining case cited by California, Ex parte Curtis,
         106 U.S. 371 (1882), affirmed the government’s power to
         ban solicitations among federal employees. It did not
         consider, and petitioners did not challenge, the government’s
         decision to exempt presidential appointees from the ban.
                                       V.
             We do not doubt the State’s interests in combatting
         corruption and worker coercion. But we cannot, applying
         First Amendment precepts, countenance California’s
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         “second-class treatment” of local employees, absent any
         plausible reason for the distinction. See Lodge No. 5, 763
         F.3d at 381. For the foregoing reasons, we reverse the district
         court’s grant of summary judgment to the State and remand
         for further proceedings consistent with this opinion. 10
              REVERSED and REMANDED.



         IKUTA, Circuit Judge, concurring in the result

             Section 3205 of the California Government Code
         violates the First Amendment as a restriction on political
         speech that is not justified by California’s asserted
         governmental interests. But because California did not enact
         the law in its capacity as an employer, but rather in its
         capacity as a sovereign, we should analyze the statute under
         ordinary First Amendment principles, not under a
         Pickering/NTEU balancing test. Maj. Op. at 11–12.
         Therefore, I concur only in the result.
                                        I
             Krista Henneman and Carlie Ware are deputy public
         defenders who work for Santa Clara County. Although they
         wanted to solicit donations from other County employees to
         support the candidacy of Sajid Khan to become district
         attorney, they did not do so because Section 3205 of the
         California Government Code forbids employees of a local
         agency from soliciting a political contribution from an


         10
            Because we conclude that Section 3205 does not survive First
         Amendment scrutiny, we do not reach PDSJ’s Equal Protection
         challenge.
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         officer or employee of that agency. This suit challenging the
         constitutionality of Section 3205 followed.
             There is no doubt that a state statute forbidding
         individuals from soliciting donations, a form of protected
         speech, impinges on the First Amendment rights of those
         individuals. See Barr v. Am. Ass’n of Pol. Consultants, Inc.,
         140 S. Ct. 2335, 2346–47 (2020); Riley v. Nat’l Fed’n of the
         Blind of N.C., Inc., 487 U.S. 781, 789 (1988); Wolfson v.
         Concannon, 811 F.3d 1176, 1180–81 (9th Cir. 2016). The
         more difficult issue is to identify the framework mandated
         by the Supreme Court to determine whether the government
         speech restriction violates the First Amendment.
             Instead of determining the appropriate degree of
         constitutional scrutiny with which to review Section 3205,
         Maj. Op. 11, the majority analyzes the law under the test set
         forth in Pickering v. Board of Education, 391 U.S. 563
         (1968), and United States v. National Treasury Employees
         Union (NTEU), 513 U.S. 454 (1995), explaining that
         “because the parties agree that Pickering/NTEU sets forth a
         more deferential standard,” “Section 3205 necessarily fails
         under” a higher level of scrutiny “if it fails under
         Pickering/NTEU.” 1 Maj. Op. 11.


         1
          Relying on McCutcheon (which declined to determine if the challenged
         restriction on political contributions was subject to strict scrutiny or
         closely drawn scrutiny review because the contribution limit at issue
         failed under the less rigorous closely drawn scrutiny standard, see
         McCutcheon v. FEC, 572 U.S. 185, 199 (2014)), the majority declines to
         “resolve the parties’ disagreement concerning the type of scrutiny
         applicable here” because Section 3205 fails under any level of scrutiny.
         Maj. Op. 11. The McCutcheon approach does not apply in this context,
         however, because while both strict scrutiny and closely drawn scrutiny
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              This is incorrect. Pickering and NTEU considered the
         balance between the government’s needs as an employer and
         its employees’ First Amendment rights. See Pickering, 391
         U.S. at 568; see also NTEU, 513 U.S. at 468. Pickering
         recognized that the government’s “interests as an employer
         in regulating the speech of its employees . . . differ
         significantly from those it possesses in connection with
         regulation of the speech of the citizenry in general.” 391
         U.S. at 568. As an employer, the government is “charged by
         law with doing particular tasks” and “hire[s] employees to
         help do those tasks as effectively and efficiently as possible.”
         Engquist v. Or. Dep’t of Agr., 553 U.S. 591, 598 (2008)
         (citation omitted). “Government employers, like private
         employers, need a significant degree of control over their
         employees’ words and actions; without it, there would be
         little chance for the efficient provision of public services.”
         Garcetti v. Ceballos, 547 U.S. 410, 418–19 (2006); see also
         Rankin v. McPherson, 483 U.S. 378, 384 (1987) (“[P]ublic
         employers are employers, concerned with the efficient
         function of their operations.”).
             In light of the nature of the employer-employee
         relationship, the Supreme Court held that challenges to
         restrictions on public employees’ speech are evaluated by
         balancing their First Amendment rights “as a citizen, in
         commenting upon matters of public concern” against the
         government’s interest “as an employer, in promoting the
         efficiency of the public services it performs through its
         employees.” Pickering, 391 U.S. at 568; see also NTEU,

         may apply to government restrictions on speech generally, see 572 U.S.
         at 199, the Pickering/NTEU test applies only to government restrictions
         on speech of its employees, and thus is not a relevant standard for
         determining if Section 3205 violates the First Amendment. See infra pp.
         28–30.
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         513 U.S. at 468. This balancing test reflects “the common-
         sense realization that government offices could not function
         if every employment decision became a constitutional
         matter.” Engquist, 553 U.S. at 599 (cleaned up); see also
         Rankin, 483 U.S. at 384 (“[R]eview of every personnel
         decision made by a public employer could, in the long run,
         hamper the performance of public functions.”). It also
         ensures that “constitutional review of government
         employment decisions” (where “the government act[s] ‘as
         proprietor to manage [its] internal operation’”) “rest[s] on
         different principles than review of restraints imposed by the
         government as sovereign” (where the government acts “as
         lawmaker” “to regulate or license”). Engquist, 553 U.S. at
         598–99 (cleaned up) (citation omitted).
             In light of that underlying rationale, it follows that the
         Pickering/NTEU balancing test is the appropriate analytic
         framework only where the government restricts speech in
         order to advance its interest “in promoting the efficiency of
         the public services it performs through” the employee
         subject to the restriction. Pickering, 391 U.S. at 568; see
         also Connick v. Myers, 461 U.S. 138, 150–51 (1983)
         (recognizing that the Pickering balancing test applies where
         the government is “promot[ing] efficiency and integrity in
         the discharge of official duties” (citation omitted)). Because
         the government may have such an interest where the person
         is a contractor or vendor, the test applies to speech
         restrictions imposed on those individuals as well. See Bd. of
         Cnty. Comm’rs, Wabaunsee Cnty. v. Umbehr, 518 U.S. 668,
         673 (1996) (government contractors); Alpha Energy Savers,
         Inc. v. Hansen, 381 F.3d 917, 923 (9th Cir. 2004)
         (government vendors).
            But we have never applied the test to a government’s
         imposition of speech restrictions on individuals who provide
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         no services and perform no duties for the government at
         issue. 2 That is the situation here. California concedes that
         the state government has no authority over local agency
         employees. Indeed, California’s theory of the case is that
         Section 3205 is justified because California has no power or
         jurisdiction to oversee local agency employees and their
         solicitation of political contributions from co-workers.
         California repeatedly states that “[t]here is no . . . oversight,
         absent Section 3205, for local agencies,” and that
         “California’s 3,500 local agencies are each responsible for
         managing their own personnel,” thus recognizing that the
         state government has no authority in this area. Put
         differently, California concedes that it did not enact and does
         not enforce Section 3205 in order to “promot[e] the
         efficiency of the public services it performs through” local
         agencies. Pickering, 391 U.S. at 568. Therefore, the
         Pickering/NTEU balancing test is simply inapplicable here.
         It should not be used to analyze the constitutionality of
         Section 3205. 3

         2
           A state government may have an employer-employee interest where a
         person officially employed by a local government functionally serves as
         an employee of the state government. See, e.g., Weiner v. San Diego
         County, 210 F.3d 1025, 1030 (9th Cir. 2000) (holding that, for purposes
         of a § 1983 action, “a county district attorney acts as a [California] state
         official when deciding whether to prosecute”). But Section 3205 is not
         limited to local agency employees who have that sort of relationship to
         the state.
         3
          The majority says it is “skeptical” that Section 3205 should be analyzed
         as a governmental regulation on citizens generally because the state has
         plenary authority to regulate local governments on matters of statewide
         concern. See Maj. Op. 12–13 n.6. But this observation sheds no light
         on the question before us: whether the state acts as an employer with
         respect to individuals who work for local governments. The state’s
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                                              II
              Because California enacted and enforces Section 3205 in
         its capacity as sovereign, not employer, I would analyze the
         law as a restriction on protected political speech under
         ordinary First Amendment principles.
             A restriction on political solicitations is unconstitutional
         unless it “is narrowly tailored to serve a compelling
         [governmental] interest.” Wolfson v. Concannon, 811 F.3d
         1176, 1180 (9th Cir. 2016) (en banc) (citation omitted). 4 A

         authority to enact legislation affecting local governments’ operations
         does not mean that the state has an employment relationship with the
         local governments’ employees. Moreover, state law limits the degree to
         which California can affect local governments’ employees. Under the
         California Constitution, the state lacks authority to regulate matters
         falling within “municipal affairs” of charter cities, Cal. Fed. Sav. & Loan
         Ass’n. v. City of Los Angeles, 54 Cal. 3d 1, 12–13, 24 (1991), which
         includes employment-related matters such as “the wage levels of
         contract workers constructing locally funded public works,” State Bldg.
         & Constr. Trades Council of Cal. v. City of Vista, 54 Cal. 4th 547, 556
         (2012). And the California Constitution also provides that each county
         has plenary authority over employment matters. See CAL. CONST. art.
         XI, § 1(b) (providing that each county “shall provide for the number,
         compensation, tenure, and appointment of [its] employees”).
         4
          The majority asserts that Wolfson’s standard of scrutiny applies only to
         restrictions on political solicitations by judicial candidates and does not
         extend to restrictions on solicitations by non-candidates or candidates for
         other offices. Maj. Op. 12 n.5. This argument is incorrect. Wolfson
         endorsed the plurality view in Williams-Yulee v. Florida Bar that
         “speech about public issues and the qualifications of candidates for
         elected office commands the highest level of First Amendment
         protection,” 811 F.3d at 1180 (quoting Williams-Yulee v. Fla. Bar, 575
         U.S. 433, 443 (2015)), and agreed “that strict scrutiny is appropriate
         here,” without limiting this principle to candidates for judicial office, id.
         That the plaintiffs in Williams-Yulee and Wolfson were campaigning for
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         speech restriction “is narrowly tailored if it targets and
         eliminates no more than the exact source of the ‘evil’ it seeks
         to remedy.” Frisby v. Schultz, 487 U.S. 474, 485 (1988)
         (citation omitted). Thus, where a court “find[s] a substantial
         mismatch between the Government’s stated objective and
         the means selected to achieve it,” the challenged speech
         restriction fails strict scrutiny review. McCutcheon, 572
         U.S. at 199.
             California has not demonstrated either a compelling
         interest or narrowly tailored means. First, the Supreme
         Court has repeatedly held that the “one permissible ground
         for restricting political speech” is the governmental interest
         in preventing quid pro quo corruption or its appearance. 5
         FEC v. Cruz, 142 S. Ct. 1638, 1652 (2022); see also
         McCutcheon, 572 U.S. at 192 (“Any regulation [on political
         speech] must . . . target what we have called ‘quid pro quo’
         corruption or its appearance [to be constitutional].”). Here,
         California claims its interests in enacting Section 3205 are to
         prevent corruption, cronyism, and workplace coercion.
         Under Supreme Court precedent, the goals of preventing
         cronyism and workplace coercion cannot serve as a


         judicial office was relevant to determine whether the state had a
         compelling interest in prohibiting solicitation, not to determine the
         standard of review. See Williams-Yulee, 575 U.S. at 445–46; Wolfson,
         811 F.3d at 1182.
         5
           In Williams-Yulee, the Court recognized a compelling governmental
         interest in protecting the integrity of the judiciary and maintaining the
         public’s confidence in an impartial judiciary. 575 U.S. at 445. But
         Williams-Yulee was careful to clarify that “a State has compelling
         interests in regulating judicial elections that extend beyond its interests
         in regulating political elections, because judges are not politicians.” Id.
         at 455. Thus, Williams-Yulee does not apply to restrictions on political
         speech outside the context of judicial elections.
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         compelling government interest to restrict political speech.
         See Cruz, 142 S. Ct. at 1652. Even California’s interest in
         preventing corruption is not a compelling interest, because it
         is not aimed at preventing quid pro quo corruption or its
         appearance. See McCutcheon, 572 U.S. at 192 (defining
         quid pro quo corruption); see also id. at 209 (“The line
         between quid pro quo corruption and general influence may
         seem vague at times, but the distinction must be respected in
         order to safeguard basic First Amendment rights.”).
              Second, Section 3205 is not narrowly tailored to these
         asserted interests, as the majority explains. Maj. Op. 14–20.
         For one, California presents no evidence that state
         employees’ solicitation of political donations from their co-
         workers has resulted in corruption, cronyism, or workplace
         coercion. Thus, California’s fear, absent any factual support,
         is the type of “mere conjecture” that the Supreme Court has
         held is not “adequate to carry a First Amendment burden.”
         Id. at 210 (citation omitted).
             Section 3205 is also underinclusive. An underinclusive
         speech restriction, meaning one that “abridg[es] too little
         speech,” Williams-Yulee v. Fla. Bar., 575 U.S. 433, 448
         (2015) (emphasis omitted), “creates a First Amendment
         concern when the State regulates one aspect of a problem
         while declining to regulate a different aspect of the problem
         that affects its stated interest in a comparable way,” id. at
         451 (emphasis omitted). Section 3205 is underinclusive
         because it restricts the political speech of local agency
         employees by prohibiting them from soliciting political
         donations from their co-workers, but does not prohibit the
         same political speech of state employees. And that
         underinclusion raises a First Amendment concern because
         solicitations among state employees equally raise the risk of
         actual and apparent corruption, cronyism, and workplace
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         coercion. California’s assertion that state employees are
         situated differently than local employees because they are
         overseen by the California Department of Human Resources
         is unpersuasive, given that California presents no evidence
         that its human resources department has historically
         prevented corruption, cronyism, or workplace coercion due
         to employees’ political speech, or that local agencies have
         failed to prevent those harms. Again, this type of conjecture
         is insufficient to sustain a restriction on First Amendment
         protected speech. See McCutcheon, 572 U.S. at 210.
             Because I agree that Section 3205 fails under strict
         scrutiny, thereby constituting an unconstitutional restriction
         on speech, I concur in the result.
